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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

SAMA CAMP, LLC,
      Plaintiff,
v.                                           CIVIL ACTION NO. 1:22-cv-01722-TCB

SAMA TEA, LLC; SAMA
WORLDWIDE INC.; SAMA
BEVERAGES, LLC; 100.CO; JAY
SHETTY; RADHI DEVLUKIA
SHETTY; KIM PERELL; and JAMES
BRENNAN,
      Defendants.
           CERTIFICATE OF SERVICE REGARDING DISCOVERY
      Pursuant to Local Rule 5.4, the undersigned hereby certifies that on September

21, 2022, Plaintiff served on all parties of record the following discovery items:

      1.       Plaintiff’s Responses to Defendants’ First Interrogatories;

      2.       Plaintiff’s Responses to Defendants’ First Requests for Admission;

and

      3.       Plaintiff’s Response to Defendants’ First Requests for Production of

Documents.

      Respectfully submitted, this 21st day of September, 2022.
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